
The Disciplinary Review Board having filed with the Court pursuant to Rule 1:20-15(k)
*354a recommendation (DRB 18-114) that JOHN B. ELBERT of SEWELL, who was admitted to the bar of this State in 1978, be suspended from the practice of law and compelled to pay a monetary sanction to the Disciplinary Oversight Committee for failure to comply with the determination of the District IV Fee Arbitration Committee in Docket No. IV-2017-0023F, and good cause appearing;
**186It is ORDERED that JOHN B. ELBERT be temporarily suspended from the practice of law, effective August 20, 2018, and until respondent complies with the determination of the District IV Fee Arbitration Committee in Docket No. IV-2017-0023F, pays a sanction of $500 to the Disciplinary Oversight Committee, and until the further Order of the Court; provided, however, this Order shall be vacated automatically if the Disciplinary Review Board reports to the Court that prior to the effective date of the suspension respondent has satisfied all obligations under this Order; and it is further
ORDERED that if respondent seeks to be heard on this matter, he shall file with the Clerk of the Court within ten days of the file date of this Order a written request for the issuance of an Order to Show Cause; and it is further
ORDERED that respondent be restrained and enjoined from practicing law during the period of his suspension and that he comply with Rule 1:20-20; and it is further
ORDERED that the entire record of this matter be made a permanent part of respondent's file as an attorney at law of this State.
